\DOC\]O'\Ul-l>

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

 

 

 

Case 3:16-cv-08277-DLR Document 28 Filed 12/0 lime 1 of 1_3___LODGED
____RECE\\/ED _w ACOPY
Michael J Brosnahan DEC 0 1 2017
21 Hummingbird Circle 3 DlS.`}-\,SC¢» GO RT
Sedona Az. 86336 CL%F|{§T¥<|CT 01§` f”\§©$l
. DEPUTY
mtkes@hotmall.com BY

(928) 300-6030
UNITED sTATEs DISTRICT CoURT
DISTRICT oF ARIZoNA

N . CV-16-08277-PCT-DLR
Real Party In Interest: 0

MICHAEL J BROSNAHAN
Consurner Claimant
Plaintiff, RESPONSE TO DEFENDANT’S
CALIBER HOME LOANS, INC.,
V_ LSF9 MASTER PARTICIPATION
TRUST, AND SUMMIT SERVICE
AND REALTY LLC’S REPLY IN
FURTHER SUPPORT OF ITS

CALIBER HOME LOANS, INC., LSF9
MASTER PARTICIPATION TRUST,
AND SUl\/Il\/IIT SERVICE AND
REALTY LLC AND/OR Real Party(s) In

MOTION TO DISMISS PLAINTIFF’S
SECOND AMENDED COMPLAINT

(ORAL ARGUMENT REQUESTED)

Irl'f€l‘€St! (Honorable Douglas L. Rayes)

Defendants.

 

 

 

Plaintiff Michael J Brosnahan, natural person,"Consurner" as defined by 15 USC
1692a(3)(4), and Principal, exercising his private right of action 15 U.S.C. § 1692k, not
Waiving any rights, Without prejudice, in this CIVIL ACTION pursuant to Fair Debt
Collection Practices Act 15 U.S.C. § 1692, Truth in Lending Act (TILA), 15 U.S.C. 1601
et seq and Real Estate Settlement Practices Act (RESPA) 12 U.S.C. §2605 et seq. and
Federal Question 28 U.S.C. § 1331. Consumer,Plaintiff hereby incorporates by reference
all facts set forth in Plaintiff's Complaint, First Amended Complaint (“FAC”) Second
Amended Cornplaint (“SAC”) and all Plaintiff‘s Response, including all defined terms
contained therein to achieve a fair and meaningful hearing.

Consurner has diligently and consistently acted in good faith and lawfully noticed

 

 

Case 3:16-cv-08277-DLR Document 28 Filed 12/01/17 Page 2 of 13

the Federal Court, all relevant Authorities, Agencies and Defendants' jointly or separately
to enforce his rights as a consumer since January 2009.

On and for the record and for my appeal if necessary, Consumer hereby
respectfully submits his Response to Defendants’ Motion and states as follows:

Plaintiff Objects to Defendants frivolous motion: Caliber Home Loans, Inc., LSF9
Master Participation Trust, And Summit Service And Realty LLC’s Reply In Further
Support Of lts l\/lotion To Dismiss Plaintiff’s Second Amended Complaint. Plaintiff
categorically denies any and all allegations, assumptions, and presumptions in the
defendants baseless and frivolous motion pages one through eleven.The Court should not
tolerate Defendants’ utterly frivolous motion such as this by a party who does not wish to
have its unlawful and illegal activities exposed.

I. BRIEF OVERVIEW

"Enough Is Enough."
Consumer Michael J Brosnahan reaffirms and re-alleges the preceding paragraphs as
if more fully set forth herein below.

Plaintiff could not find anywhere in the history of jurisprudents when a Federal
Court found within its preview to award a free house to Defendants' through an Abuse
Of Process by Defendants' in an attempt to have this Federal Court pre litigate and rubber
stamp the Defendants malfeasance with a pre trail motion.

Plaintiff objects to Defendants' jointly or separately, as they attempt to rewrite
history and the facts before the Federal Court. Defendants' can’t use a robo-Defendants or
robo-Bcneficiary to press the case because that would mean that the rescinded loan, that
Defendants' describe as "technicality" and the closing documents were being used for the
purpose of establishing the presumption of legal standing that is nonexistent

Plaintiff objects to Defendants' jointly or separately, as the Consumer protection
laws are not some "Nebulous Legal Theory" they are unambiguous and statutory, in that
no interpretation is required or allowed and no stonewalling the rescission can be

accomplished by merely announcing a dispute with statutory TILA rescission on ANY

Page 2 of 13 No. CV-l6~08277-PCT-DLR

 

 

 

 

\OOO\]O\

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

Case 3:16-cv-O8277-DLR Document 28 Filed 12/01/17 Page 3 of 13

grounds

After Notice by the Consumer, Defendants jointly or separately have no lawful
explanation of why they are attempting "To Collect A Debt" (emphasis defendants, see
plaintiffs exhibit 1) that has been rescinded in May 15, 2009 and the debt or loan no
longer exists See Plaintiff "Exhibit 4" TILA 2009 Rescission Letter.The rescission is
ALWAYS effective upon mailing Based upon the express wording of the statute 15
U.S.C. 1635, and the unanimous ruling from SC()TUS that the statute’s wording is clear
and thus permits no interpretation, and the ruling of SCOTUS that the statute is
procedural, and simple logic.

"Nothing in our jurisprudence, and no tool of statutory interpretation, requires that
a congressional Act must be construed as implementing its closest common-law analogue.
Cf. Astoria Fed. Sav. & Loan Assn. v. Solimino,501 U. S. 104, 108-109 (1991). The clear
import of §1635(a) is that a borrower need only provide written notice to a lender in order
to exercise his right to rescind." See SCOTUS unanimous decision January 13, 2015
(Jesinoski v. Countrywide Home Loans, Inc., 2015 WL 14468] ).

Plaintiff objects to Defendants' jointly or separately, see Defendants‘ motion page
eight... "Plaintijj” consummated the loan in May 2006.y T his suit was not filed until
Noveml)er 2016-~more than a decade later. Plaintijjf also still possesses the collateral that
is the Property at issue here..." Defendants‘ jointly or separately through their own
criminal actions, are now blaming the victim Mr. Brosnahan for their lack of Due
Diligent.

Mr. Brosnahan did not write the Consumer protection Laws and only filed suit after
Lawf`ul and Legal notice to "Cease And Desist" was ignored by Defendants in an attempt
"To Collect A Debt" (emphasis defendants, see plaintiffs exhibit 1) on an a loan lawfully
rescinded in 2009. Defendants did attempt a non judicial foreclosure without proper strict
statuary documentation as required by Law.

see page3 defendants' motion "Plainti]j‘ admittedly stopped making payments on

that loan nearly nine years ago, but still is fighting to hold on to the collateral without

Page 3 of 13 No. CV-l6-08277-PCT-DLR

 

 

 

CQO\]O`\

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

Case 3:16-cv-O8277-DLR Document 28 Filed 12/01/17 Page 4 of 13

making any effort to repay the loan. lt would appear that the party acting with impunity
up until this point is, in fact, Plaintijj‘. Enough is enough ". "

After the 2009 TILA Rescission, Consumer Mr. Brosnahan was no longer required
by Federal Law to make any further payments on the alleged loan. Mr. Brosnahan has
consistently given Legal and Lawful notice to any and all previous alleged "Loan
Servicers" aka "Debt Collectors" to "Cease And Desist" and enforce his rights as a
consumer since January 2009. "Enough is enough "

Plaintiff objects to Defendants‘ jointly or separately, as they can no longer claim
"Plausible Deniability" must accept the full "Moral Hazard" of their unlawful actions in
acquiring alleged debt for the Enforcement of a Non-judicial foreclosures "To Collect A
Debt" (emphasis defendants, see plaintiffs exhibit 1-8) as they were legally and lawfully
noticed of the facts and history now in evidence and now before the Federal Court.

The fact that Defendants made a faulty presumption and violated 15 U.S.C. § 1692
does not excuse them from liability under a bona fide error defense as stated in lerman v.
Carlise, NcNellie, Rini, Dramer & Ulrich, L.P.A. 538 F.3d 469,471 (6th Cir. 2008).

Plaintiff objects to Defendants‘ jointly or separately, Defendants‘ knowingly used
false forged and or fabricated documents to garner legal presumption Defendants'
describe this as a "technicality": Pursuant to 8 U.S. Code § 1324c - Penalties for
document fraud is a violation of Federal Law, also See DAVID KESTER V.
CITIMORTGAGE, INC. l 9th Cir ~ “the recording of false or fraudulent documents that
assert an interest in a property may cloud the property’s title” September 29, 2017.

Plaintiff objects to Defendants' jointly or separately, Defendants‘ knowingly
Perjured a verification in open court, the Defendants' describe as another "technicality":
Pursuant to 18 U.S.C. 1621 it is a violation of Federal Law.

Plaintiff objects to Defendants perjuries "Verification" Demonstrating and proving
once again to the Federal Court and Consumer that Caliber employees will sign and verify
and attest to anything that is put in front of them without reading or understanding the

content or ramifications (See defense motion and perjuries "Verification" dated

Page 4 of 13 No. CV~l6-08277-PCT-DLR

 

 

\OOO\]O\

10
ll
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

Case 3:16-cv-O8277-DLR Document 28 Filed 12/01/17 Page 5 of 13

November 01,2017)

Plaintiff objects to Defendants Documents and again hereby questions the
authenticity and/or authority of all signatures by any and all parties Plaintiff hereby
questions the authenticity and/or authority of all documents, agreements, contracts, notes,
and/or the like by any and all parties. Plaintiff objects to the notary(s) signing documents
for Defendants’ ens legis are actually employees of Defendants’ corporations and have
unlawfully notarized documents for their employers without firsthand knowledge and are
hearsay. All documents allegedly "Verified" (See defense motion and perjuries
"Verification" dated November 01,2017) or notarized by employees are void ab intio and
may only be considered by this Court as evidences of their crimes and NEVER as valid
documents

Plaintiff objects to Defendants as the legitimacy of the Assignments are very much
in question. 28 U.S. Code § 2072. Defendants allege there is a clear chain of title. Quite
frankly, it is clear the alleged Assignments were not executed correctly in the ordinary
course of business, as required by law and defendants clouded the title in an attempt to
"push throug " this unlawful mortgage foreclosure

Defendants have no standing and are unable to enforce, therefore are nothing more
than a "debt collector" as defined in FDCPA. The FDCPA, 15 U.S.C. § 1692, et seq., is a
strict liability statute, Taylor v. Perrin, Landry deLaunay & Durand, 103 F.3d 1232 (5th
Cir. 1997): see also lrwin v. Mascott, 112 F. Supp. 2d 937 (N.D. Cal. 2000): Pittman v.
J.J. Mac Intyre Co. ofNevada, Inc., 969 F. Supp. 609 (D. Nev. 1997). “Because the Act
imposes strict liability, a consumer need not show intentional conduct by the debt
collector to be entitled to damages.” Russell v. Equifax A.R.S., 74 F. 3d 30, 33-34 (2nd
Cir. 1996).

The FDCPA is a remedial statute. Hamilton v. United Healthcare of Louisiana,
lnc., 310 F. 3d 385, 392 (5th Cir. 2002). The remedial nature of the FDCPA requires that
courts interpret it liberally. Clark v. Capital Credit & Collection Services, Inc., 460 F. 3d
1162, 1176 (9th Cir. 2006). “Because the FDCPA, like the Truth in Lending Act (TILA)

Page 5 of 13 No. CV-16-08277-PCT-DLR

 

 

 

 

Case 3:16-cv-O8277-DLR Document 28 Filed 12/01/17 Page 6 of 13

15 U.S.C. § 1601 et seq., is a remedial statute, it should be construed liberally in favor of
the consumer.” Johnson v. Riddle, 305 F. 3d 1107, 1117 (20th Cir. 2002). Also See
SCOTUS (TILA) unanimous decision January 13, 2015 Jesinoski v. Countrywide Home
Loans, Inc., 2015 WL 144681.

Plaintiff objects to Defendants‘ jointly or separately, to their audacity in attempting
to the misuse of "Ho v. ReconT rust Co., NA, 840 F.3d 618, 621 (9th Cir. 2016) (“actions
taken to facilitate a non-judicial foreclosure, such as sending the notice of default and
notice of sale, are not attempts to collect ‘del)t’ as the term is defined by the FDCPA ” . "

The honorable 9th Circuit, case was in regards to legitimate "Loan Servicing"
not to the Defendants‘ unlawful "Debt Collection" action on a TILA 2009 rescinded loan
that Defendants‘ allegedly acquired using false, forged, fabricated accounting and
documents

Plaintiff objects to Defendants‘ jointly or separately, to their audacity in attempting
to use the analogy "...As the Ninth Circuit explained, “[t]he fear of having your car
impounded may induce you to pay ojj‘ a stack of accumulated parking tickets, but that
doesn ’t make the guy with the tow truck a debt collector ” Id this is an attempt to
portray themselves as the victim or legitimate "Loan Servicer" just "doing their job."

However a more accurate analogy for the Defendants actions are: Consumer
Legally and Lawfully Noticed the " Guy With a Tow Truck " and everyone involved in
Defendants unlawful actions that they were stealing the Consumers car that Consumers
owned for 24 years "Tow Truck Guy" still knowingly uses false, forged and fabricated
documents and accounting "Tow Truck Guy" under the color of law continues to demand
payment "To Collect A Debt" unabated and continues to harass and trespass, threatening
to steal Consumer car if does not "pay up " and continues with knowledge of forethought
because he is "just following orders " or more commonly known as the Nuremberg
Defense.Through an Abuse Of Process, Defendants actions are tantamount to "Car
lacking" and the Consumer Car is not going to an impound were it may be recovered,

“acting with impunity” it is going to a foreclosure mill chop shop never to be seen again.

Page 6 of 13 No. CV-l6-08277-PCT-DLR

 

 

\OOO\}O\

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

Case 3:16-cv-O8277-DLR Document 28 Filed 12/01/17 Page 7 of 13

FDCPA, Consumer and Defendants identifies themselves through their behavior
unlawful actions and correspondence as "Debt Collectors", a jury of Mr. Brosnahan's
peers and any reasonable person will more likely look at it as extortion racket alter all the
facts are presented in open Court.

This matter arises out of Defendants’ unlawful communication to the
Consumer pursuant to 15 USC§16920(a) and the commencement of a non-judicial
foreclosure proceeding against Consumer absent the required documentation pursuant
to 15 U.S.C. §1692e(2) §1692f 6(a) and in lieu of said documentation, Defendants used
perjuriess statements and claim to conceal the Facts that neither Defendant nor
Defendant’s ens legis has no Legal and/or Lawful Right to commence the non-judicial
foreclosure proceeding in attempt to collect a debt. The coercive deceptive nature of the
actions of, and statements made to the Plaintiff in multiple communications from
Defendants' jointly or separately, identifying themselves specifically as "Debt Collectors "
leave little doubt that Plaintiff has been damaged A “debt collector may not use unfair or
unconscionable means to collect or attempt to collect any debt.” 15 U.S.C. § 1692f.
Simply it was designed to protect consumers from unscrupulous collectors, whether or not
there exists a valid debt, the FDCPA broadly prohibits unfair or unconscionable collection
methods, conduct which harasses, oppresses or abuses any consumer, and any false
deceptive or misleading statements in connection with the collection of a debt. Baker v.
G.C. Services Corp., 677 F.2d 775 (9th Cir. 1982); Heintz v. Jenkins, 514 U.S. 291
(1995); McCartney v. First City Bank, 970 F.2d 45 (5th Cir. 1992).

Defendants' knowingly violated fiduciary due diligent 28 U.S. Code § 1251 28
U.S.C. § 1345 Injunctions Against Fraud.

Plaintiff objects Defendants' jointly or separately, pursuant to RESPA did not
respond in a timely manner to consumers "Written Qualified Request" and attempted to
mislead Consumer in their eventual response See plaintiff exhibit 2 Defendants'
knowingly misled the Consumer with Unverified accounting Pursuant to RESPA, the

Dodd-Frank Act and 12 C.F.R. §§ 9.8-.9 (2004) (regulating recordkeeping, record

Page 7 of 13 No. CV-l6-08277-PCT-DLR

 

 

\OOO\]O\

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

Case 3:16-cv-O8277-DLR Document 28 Filed 12/01/17 Page 8 of 13

retention, and audit by the Comptroller of the Currency)

Validation requires presentment of the account and general ledger statement signed
and dated by the party responsible for maintaining the account. See Pacific Concrete
F.C.U. v. Kauanoe, 62 Haw. 334, 614 P. 936 (1980), GE Capital Hawaii, Inc. v.
Yonenaka 25 P. 3d 807, 96, Hawaii 32, (Hawaii App 2001), Fooks v. Norwich Housing
Authority 28 Conn. L. Rptr. 371, (Conn. Super. 2000), Town of Brookfield v.
Candlewood Shores Estates, lnc. 513 A. 2d 1218, 201 Conn. 1 (1986), and Solon V.
Godbole, 163 111. App. 3d 845, 114 111. Dec. 890, 516 N.E. 2d 1045 (3Dist. 1987). The
Defendants never complied with Plaintiff"s Consumer demands for validation of the
alleged debt they were attempting to collect yet continued their collection activities A
debt collector verifies a debt by providing information that is responsive to the
consumer’s request. See H.R. Rep. No 31, 95th Cong., lst Sess. 5 1977. At NO time did
Defendants begin to attempt to properly validate the alleged debt as demanded by
Plaintiff.

Plaintiff objects to Defendants allege that Conditions Precedent not met in contact
is a ”technicality". The Deed of Trust is explicit in paragraph 22 that ”Acceleration,'
Remedies. Lender shall give notice to Borrower prior to acceleration following
Borrower's breach of any covenant or agreement in this Security" lnstrument (emphasis
added) Defendants failed to meet Conditions Precedent pursuant to DOT. See:
Conditions Precedent Not Met - 2011 CA US District Court - Paik v Wells F argo

With all due respect, Plaintiff objects to the Defendants motion as it appears to
have been filed in bad faith in an attempt to prc litigate and Prejudice the court against the
Consumers' legitimate claim and have no bearing on the Federal Question 28 U.S.C. §
1331 before the court and in fact Defendant’s l\/Iotion has repeatedly and notably failed to
address this Federal Court about the Federal Question 28 U.S.C. § 1331. 28 U.S. Code §
2072.

Plaintiff objects to Defendant’s Motion, as the tone is unprofessional and unethical

as it appears to mock the consumer's legitimate claim.

Page 8 of 13 No. CV-l6~08277-PCT-DLR

 

 

 

\OOO\IO\

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

Case 3:16-cv-O8277-DLR Document 28 Filed 12/01/17 Page 9 of 13

Plaintiff objects to Defendants' motion as it is filled with legalese, terms no laymen
will understand and used words that have different meanings in law than in the layman
sense, Only the laymen meaning of the words should be used with the Consumer. Plaintiff
objects to the unfair advantage for Defendants it is obvious in that condition alone. A
Consumer layman is NOT required to know legal definitions Plain Writing Act of 2010.

The veracity of the Consumer Plaintiffs' Claims and Facts in this case have been
legitimized over these eight years of Federal litigations by the: DOJ, CFPA and Attorney
General resulting with Countrywide, Bank of America, Deutsche Bank, and chen all
having multimillion dollar consent orders and Judgments against them. A Second
Superseding Federal Indictment, for Wilmington Trust. The New York Attorney General
opened an investigation into Caliber Home Loans lnc. for their abusive practices

At all relevant times Defendants Caliber Home Loans lnc., LSF9 Master
Participation Trust, and Summit Services and Realty LLC (collectively “Defendants”) and
its agents are in fact a "Debt Collector" as defined under the FDCPA. 15 U.S.C. §
1692a(6). Defendants have acted and continue to act recklessly or knowingly and commit
the acts cause or direct others to commit the acts or permit others to commit the acts
alleged in this matter. Any allegations about the acts of the Corporations means those acts
were committed through their officers directors employees agents and/or
representatives while those individuals were acting within the actual or implied scope of
their authority.

To be clear, collectively “Defendants” jointly or separately are like a "snake eating
its tail" hidden from the Consumer and Federal Court in a self contained Lone Star
corporate conglomerate, built on a well oiled "foreclosure mill". see Defendants
"Corporate Disclosure Statement". Defendants actions are orchestrated to mislead and
designed to inflict and deliver maximum irreparable harm to the Consumer. Plaintiff
objects to Defendants disingenuous motion and deception This Federal Court should

summarily not grant Defendants motion.
II. STANDARD OF REVIEW

Page 9 of 13 No. CV-l6-08277-PCT-DLR

 

 

 

 

Case 3:16-cv-O8277-DLR Document 28 Filed 12/01/17 Page 10 of 13

Plaintiff Consumer Michael J Brosnahan reaffirms and re-alleges the preceding
paragraphs as if more f`ully set forth herein below.

Federal Rule of Civil Procedure 8(a)(2) requires only “a short and plain statement
of the claim showing that the pleader is entitled to relief,” in order to “give the defendant
fair notice of what the claim is and the grounds upon which it rests.” Bell Atlantic
Corp. v. Twombly, 550 U.S. 544, 555 (2007), quoting Conley v. Gibson, 355 U.S. 41, 47
(1957). “[A] complaint attacked by a Rule 12(b)(6) motion to dismiss does not need
detailed factual allegations” ld. At 55 5. “[W]e do not require heightened fact pleading of
specifics but only enough facts to state a claim to relief that is plausible on its face.” ld.
At 570.

The complaint must only include “sufficient factual allegations to provide the
grounds on which the claim rests”. Friends of Lake View School District v. Beebe, 578
F.3d 753, 762 (8th Cir. 2009). While “mere labels and conclusions” will not satisfy a
plaintiff’s burden, there is no need for detailed factual allegation or specific facts that
describe the evidence to be presented ld. A plaintiff satisfies their burden if they allege
facts sufficient to allow a court to infer “more than the mere possibility of misconduct”.
Ashcroft v. lqbql, 129 W.Ct. 1937, 1950 (2009). Well-pleaded allegations of fact and
every inference fairly deducible there from are accepted as true for purposes of a motion
to dismiss See: Erickson v. Pardus, 551 U.S. 89, 93-94 (2007). “[A] well-pleaded
complaint may proceed even if it strikes a savvy judge that actual proof of those facts is

improbable, and “that recovery is very remote and unlikely.” Twombly, 550 U.S. at 556.
III. ARGUMENTS AND AUTHORITIES

Plaintiff Consumer Michael J Brosnahan reaffirms and re-alleges the preceding
paragraphs as if more fully set forth herein below.

“When considering Defendant’s motion, the court must construe the factual
allegations in the complaint in the light most favorable to the plaintiff.” In re Stac Elecs.
Sec. Litig., 89 F.3d 1399, 1403 (9th Sir. 1996): Jones v. General Elec. Co., 87 F.3d 209,
211 (7th Cir. 1996). “Only if no possible construction of the alleged facts will entitle

Page 10 of 13 No. CV-16-08277-PCT-DLR

 

 

 

\OOC\]O\

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

Case 3:16-cv-O8277-DLR Document 28 Filed 12/01/17 Page 11 of 13

plaintiff to relief should the court grant defendant’s motion.” Hishon v. King & Spaulding,
467 U.S. 69, 73, 104 S. Ct. 2229, 2232 (1984). lf the factual allegations in plaintiff"s
complaint support any legal theory that entitles plaintiff to some relief, the court should
overrule defendant’s motion to dismiss
JUDICIAL NOTICE
Although this is a Civil case Plaintiff asks the court to note the defendants
actions also may be criminal in nature.
28 U.S. Code § 2072 - Rules of procedure and evidence; power to prescribe
Federal Question 28 U.S.C. § 1331
Fair Debt Collection Practices Act 15 U.S.C. § 1692
Truth in Lending Act (TILA) 15 U.S.C. § 1601 et seq
Helping Families Save Their Homes Act of 2009
Public Law 111 - 274 - Plain Writing Act of 2010
FTC 16 C.F.R. § 433, (“Holder” Rule)
28 U.S. Code § 1251 28 U.S.C. § 1345 lnjunctions Against Fraud
United States of America Constitution Article 111 section 11
Supremacy Clause of the United States Constitution, Article Vl, paragraph 2
SCOTUS unanimous decision January 13, 2015 Jesinoski v. Countrywide
Home Loans, Inc., 2015 WL 144681 .
DAVID KESTER V. CITIMORTGAGE, lNC. l 9TH CIR - September 29, 2017
8 U.S. Code § 1324c - Penalties for document fraud
18 U.S.C. § 1621- Perjury
28 U.S. Code § 1251 28 U.S.C. § 1345 Injunctions Against Fraud
Wilson v. Draper & Goldberg, P.L.L.C., 2006 U.S. (4th Cir. April 5, 2006)
CA US District Court - Paik v Wells Fargo 2011- Conditions Precedent Not Met
12 C.F.R. §§ 9.8-.9 (2004) (regulating recordkeeping, record retention, and audit)
CONCLUSION

Plaintiff has pleaded facts sufficient to allow a court, drawing on “judicial

Page 11 of 13 No. CV-l6-08277-PCT-DLR

 

 

 

Case 3:16-cv-O8277-DLR Document 28 Filed 12/01/17 Page 12 of 13

experience and common sensc”, to infer “more than the mere possibility of misconduct”,
which easily satisfies Plaintiffs' burden of pleading under the Federal Rule of Civil
Procedure, in addition to the FDCPA at this stage. See Ashcroft v. Iqbal, 129 S.Ct. at
1950. Plaintiff’s claims should therefore survive dismissal.

Plaintiff has demonstrated that actions of the Defendants' jointly or separately,
have violated FDCPA, TILA, RESPA and other consumer protection laws by their willful
failure to state a material fact, or the willful concealment of a material fact in their
commencement of a non judicial foreclosure against the Plaintiff. The intent of the
Defendants actions was that the Plaintiff would rely on their false and coercive statements
and just “pay up” rather than exercise his rights as dictated by the FDCPA and not bring
suit against the Defendants for their violation of the FDCPA and other consumer
protection laws Plaintiff has made detailed allegations with particularity with Facts and
Evidence, that the Defendants have used written representations of exaggeration and
falsehood, which is precisely what is required for an action to be brought under FDCPA,
TILA,RESPA and other consumer protection laws

Plaintiff respectfully requests the Court take notice of the well-pleaded allegations
and Facts now in evidence of the Consumer Plaintiff’s complaint, and must accept as true
at this juncture of the proceedings and which, in light of the Plaintiff s pro se status the
Court must hold to a less stringent standard than formal pleadings drafted by an attorney
and construe liberally. See Haines v. Kerner, 404 U.S. 519, 520, 92 S.Ct. 594, 596, 30
L.Ed. 2d 652 (1972).

WHEREFORE, Plaintiff respectfully requests that this Court enter an order
denying Defendants’ Motion to Dismiss. ln the alternative, if the Court determines
Plaintiff has failed to state a claim, Plaintiff asks the Court to grant leave to amend his

Complaint.
RESPECTFULLY SUBl\/HTTED: This lSt Day of1)60ember, 20171

BY: 7/ » ;) 3 / t ¢'L, agent
Consumer Claimant Michael J Brosnahan,
Sincerely and signed without prejudice,

Page 12 of 13 No. CV-16-08277-PCT-DLR

 

\OOO\]O\

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

Case 3:16-cv-O8277-DLR Document 28 Filed 12/01/17 Page 13 of 13

CERTIFICATE OF SERVICE
ORIGINAL and COPY of the foregoing
Delivered and Filed with the Clerk of the
Court,

This 1St Day of December, 2017,

The Honorable Douglas L. Rayes
UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ARIZONA

Conformed COPY of the foregoing

Perkins Coie LLP

Brian C. Lake

Kendra L. Haar

2901 North Central Avenue, Suite 2000

Phoenix, Arizona 85012-2788

Attorneys for Defendants Caliber Home

Loans LSF9 Master Participation Trust,

and Summit Services and Realty LLC /

BY: _ {_ »_ ¢- _- ‘¢ .<L ,agent
Consumer Claiman't Michael J Brosnahan,
Sinperely andr_signed without prejudice,

COPYRIGHT NC)TICE: The above-mentioned entity is quoting citations ‘as
purported in’ context to copyrighted case law, statutes rules of court and court decision
material as found in books published with Federal or state funding supplied by the
Citizens of the United States of America and intended for use by attorneys and does so

under the provisions of the Fair use clause of the copyright laws of the United States

Page 13 of 13 No. CV-l6-08277-PCT-DLR

 

